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     Attorney for Defendant
 5
     JESSICA CORRO
 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                         Case No.: 2:15-CR-140 MCE
12
                     Plaintiff,
13
     vs.                                               STIPULATION AND [PROPOSED] ORDER
14                                                     MODIFYING DEFENDANT’S SPECIAL
     JESSICA CORRO,                                    CONDITIONS OF RELEASE
15

16                   Defendant.

17

18

19

20          Defendant Jessica Corro is presently released on pre-trial conditions after being charged
21
     by Indictment as a participant in a conspiracy to distribute methamphetamine. Her release
22
     conditions include outpatient counseling (ECF Entry 210). The parties to this action, Plaintiff
23
     United States of America by and through Assistant United States Attorney Paul Hemesath, and
24

25   Defendant Jessica Corro by and through her attorney Todd D. Leras, stipulate as follows:

26          1.    Following a continued detention hearing, held on July 15, 2015, Chief United States
27
     ORDER MODIFYING PRE-TRIAL
28   RELEASE CONDITIONS
               Case 2:15-cr-00140-DC Document 234 Filed 09/24/19 Page 2 of 3


 1              Magistrate Judge Edmund F. Brennan ordered Jessica Corro released on a $100,000
 2
                co-signed unsecured bond and various special conditions of release.
 3
            2. Ms. Corro lives in Southern California and is presently supervised by Pre-Trial
 4
                Services Officer Vanessa Singh in the Central District of California. Ms. Corro
 5

 6              submitted to a drug test that returned with a positive screen for cocaine on July 31,

 7              2018. Pre-trial services took no formal action as to her release status at that time, but
 8
                requested the addition of a term providing for outpatient counseling. Ms. Corro has
 9
                complied with the counseling condition and continues to test negative for controlled
10
                substances.
11

12          3. Pre-Trial Services Officer Singh indicates that her office is requesting removal of the

13              outpatient counseling condition.
14
            The parties therefore request modification of Ms. Corro’s Special Conditions of Release
15
     to remove the outpatient counseling condition.
16
            Assistant U.S. Attorney Paul Hemesath has reviewed this stipulation and proposed order
17

18   and authorized (via email) Todd Leras to sign it on his behalf.

19

20
     DATED: September 23, 2019
21                                                         By     Todd D. Leras for
                                                                  PAUL HEMESATH
22                                                                Assistant United States Attorney
23
     DATED: September 23, 2019
24                                                         By     /s/ Todd D. Leras
                                                                  TODD D. LERAS
25                                                                Attorney for Defendant
                                                                  JESSICA CORRO
26

27
     ORDER MODIFYING PRE-TRIAL
28   RELEASE CONDITIONS
               Case 2:15-cr-00140-DC Document 234 Filed 09/24/19 Page 3 of 3


 1                                                ORDER
 2
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that Special Condition of Release in ECF Entry Number 210 requiring Jessica
 4
     Corro to participate in a program of medical or psychiatric treatment, including treatment for
 5

 6   drug or alcohol dependency, as approved by the pretrial services officer be removed. All other

 7   release conditions shall remain in effect.
 8
            IT IS SO ORDERED.
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     DATED: September 24, 2019
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     ORDER MODIFYING PRE-TRIAL
28   RELEASE CONDITIONS
